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 7
     Attorneys for Defendants
 8   CITY AND COUNTY OF SAN FRANCISCO

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10
                                          UNITED STATES DISTRICT COURT
11
                                       NORTHERN DISTRICT OF CALIFORNIA
12
      PEYMAN PAKDEL and SIMA CHEGINI,                   Case No. 3:17-cv-03638-RS
13
              Plaintiffs,                               STIPULATION AND [PROPOSED] ORDER
14                                                      EXTENDING TIME TO FILE MOTION TO
              vs.                                       DISMISS, OPPOSITION TO MOTION TO
15                                                      DISMISS, AND REPLY TO OPPOSITION
      CITY AND COUNTY OF SAN FRANCISCO
16    a Chartered California City and County; SAN
      FRANCISCO BOARD OF SUPERVISORS,                   Trial Date:            N/A
17    an elected body of the City and County of San
      Francisco; SAN FRANCISCO                          Judge:                 Richard Seeborg
18    DEPARTMENT OF PUBLIC WORKS, a
      department of the City and County of San
19    Francisco; and DOES 1-25 inclusive,

20            Defendants.

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22

23           Pursuant to Local Rule 6-2, PEYMAN PAKDEL and SIMA CHEGINI (“Plaintiffs”) and City

24   and County of San Francisco, a Chartered California City and County; San Francisco Board of

25   Supervisors, an elected body of the City and County of San Francisco; and San Francisco Department

26   of Public Works, a department of the City and County of San Francisco (collectively herein “San

27   Francisco”) by and through their attorneys of record hereby stipulate and agree:

28
      Stipulation to Extend Filing Deadlines             1                        n:\land\li2022\171640\01583760.docx
      Case No. 3:17-cv-03638-RS
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 1            1.       On November 29, 2021, the Court issued a Case Management Order establishing the

 2   following briefing schedule for this matter:

 3                 •   “Plaintiffs will file their First Amended Complaint on or before January 5, 2022[.]”

 4                 •   “Defendant will file its motion to dismiss the First Amended Complaint on or before

 5                     March 2, 2022.”

 6                 •   “Plaintiffs will file their response to the motion to dismiss on or before April 13, 2022.”

 7                 •   “Defendant will file its reply on or before June 1, 2022.”

 8            2.       Plaintiffs filed their First Amended Complaint on January 5, 2022.

 9            3.       Due to unanticipated medical and health issues that caused San Francisco’s lead

10   counsel Kristen Jensen to take sick leave as a result of contracting SARS-CoV-2, the parties agree that

11   San Francisco may have an extension of time to file its motion to dismiss the First Amended

12   Complaint from March 2, 2022 to April 1, 2022, or to other such date as is acceptable to the Court.

13            4.       Plaintiffs may have an extension of time to file their opposition and response to the

14   motion to dismiss from April 13, 2022 to May 13, 2022, or to other such date as is acceptable to the

15   Court.

16            5.       San Francisco may have an extension of time to file its reply to Plaintiffs’ opposition

17   and response from June 1, 2022 to July 1, 2022, or to other such date as is acceptable to the Court.

18            6.       The 30-day extensions agreed upon herein may extend the scheduling of other Court

19   dates and deadlines and that no party is prejudiced by these extensions.

20            IT IS SO STIPULATED.

21

22   Dated: February 17, 2022                         DAVID CHIU
                                                      City Attorney
23                                                    KRISTEN A. JENSEN
                                                      CHRISTOPHER T. TOM
24                                                    Deputy City Attorneys
25                                                    By: /s/ CHRISTOPHER T. TOM
                                                         CHRISTOPHER T. TOM
26
                                                      Attorneys for Defendants
27                                                    City and County of San Francisco, et al.
28
      Stipulation to Extend Filing Deadlines                 2                         n:\land\li2022\171640\01583760.docx
      Case No. 3:17-cv-03638-RS
                 Case 3:17-cv-03638-RS Document 50 Filed 02/17/22 Page 3 of 4




 1   Dated: February 17, 2022
 2
                                               JEFFREY W. McCOY
 3                                             ROBERT H. THOMAS
                                               JAMES S. BURLING
 4                                             ERIN E. WILCOX
                                               PAUL F. UTRECHT
 5                                             THOMAS W. CONNORS
 6                                             By: /s/ JEFFREY W. McCOY (with consent)
                                                  JEFFREY W. McCOY
 7
                                               Attorneys for Plaintiffs
 8                                             Peyman Pakdel and Sima Chegini
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      Stipulation to Extend Filing Deadlines         3                     n:\land\li2022\171640\01583760.docx
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                  Case 3:17-cv-03638-RS Document 50 Filed 02/17/22 Page 4 of 4




 1                                             [PROPOSED] ORDER
 2           Pursuant to the foregoing stipulation of the parties, and good cause appearing therefore, IT IS

 3   HEREBY ORDERED that:

 4           1.       San Francisco may have an extension of time to file its motion to dismiss the First

 5   Amended Complaint to April 1, 2022.

 6           2.       Plaintiffs may have an extension of time to file their opposition and response to the

 7   motion to dismiss to May 13, 2022.

 8           3.       San Francisco may have an extension of time to file its reply to Plaintiffs’ opposition

 9   and response to July 1, 2022.

10            IT IS SO ORDERED.

11   Dated: ______________, 2022
                                                    _____________________________
12                                                  Hon. Richard Seeborg
                                                    United States District Judge
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      Stipulation to Extend Filing Deadlines                4                         n:\land\li2022\171640\01583760.docx
      Case No. 3:17-cv-03638-RS
